         Case: 3:18-cv-00074-wmc Document #: 10 Filed: 04/18/18 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WISCONSIN


JOSIE KURKOWSKI, Individually and on                       Case Number: 3:18-cv-00074-slc
behalf of all others similarly situated,

               Plaintiff,                             MOTION TO WITHDRAW AS
                                                      COUNSEL FOR
v.                                                    DEFENDANT INTERSTATE
                                                      RECOVERY SERVICE, INC.
INTERSTATE RECOVERY SERVICE, INC.,
et al.,

               Defendants.



        The undersigned counsel moves to withdraw as counsel for Defendant Interstate

Recovery Service, Inc. (“IRSI”) and in support states as follows:

        1.     On February 6, 2018, Plaintiff Josie Kurkowski (“Plaintiff”) filed a putative Class

Action Complaint under the Fair Debt Collection Practices Act arising from language in a letter

from Defendant to Plaintiff. ECF No. 1.

        2.     The Complaint was served on Defendant on February 13, 2018.

        3.     On March 6, 2018, Defendant filed a Consent Motion to Extend the responsive

pleading deadline which the Court granted on March 7, 2018. ECF No. 5, 7.

        4.     On March 20, 2018, Defendant filed its Answer. ECF No. 8.

        5.     On April 16, 2018, Defendant notified the undersigned counsel that Defendant

closed its business and does not wish the undersigned counsel to represent Defendant going

forward.




34878474v2
         Case: 3:18-cv-00074-wmc Document #: 10 Filed: 04/18/18 Page 2 of 3




        6.        On April 16, 2018, the undersigned counsel notified Plaintiff’s counsel of the

same in writing and Plaintiff’s counsel does not oppose withdrawal of the undersigned as counsel

for Defendant.

        7.        Defendant requests that all further pleadings, orders, notices, and other documents

be directed to:

                                        Seymour M. Teach, PC
                                         1216 Granby St # 19
                                         Norfolk, VA 23510
                                          Tel.: 757-626-0747

        A proposed Order granting leave to withdraw is submitted herewith for the convenience

of the Court.



This 18th day of April, 2018.                          Respectfully submitted,

                                                       TROUTMAN SANDERS LLP


                                                       By:     /s/ Ethan G. Ostroff
                                                       Ethan G. Ostroff (VSB No. 71610)
                                                       TROUTMAN SANDERS LLP
                                                       222 Central Park Avenue, Suite 2000
                                                       Virginia Beach, Virginia 23462
                                                       Telephone: (757) 687-7541
                                                       Facsimile: (757) 687-1541
                                                       E-mail: ethan.ostroff@troutman.com
                                                       Attorney for Interstate Recovery Service,
                                                       Inc.




34878474v2
         Case: 3:18-cv-00074-wmc Document #: 10 Filed: 04/18/18 Page 3 of 3




                                CERTIFICATE OF SERVICE

        I hereby certify that on this 18th day of April, 2018, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system which will send notification of

such filing to the following CM/ECF participants:

                                     Counsel for Plaintiff
                                       Yaakov Saks, Esq.
                                     RC Law Group, PLLC
                                       285 Passaic Street
                                     Hackensack, NJ 07601



This 18th day of April, 2018.
                                                     By:     /s/ Ethan G. Ostroff
                                                     Ethan G. Ostroff (VSB No. 71610)
                                                     TROUTMAN SANDERS LLP
                                                     222 Central Park Avenue, Suite 2000
                                                     Virginia Beach, Virginia 23462
                                                     Telephone: (757) 687-7541
                                                     Facsimile: (757) 687-1541
                                                     E-mail: ethan.ostroff@troutman.com
                                                     Attorney for Interstate Recovery Service,
                                                     Inc.




34878474v2
